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5
                           UNITED STATES DISTRICT COURT
6
                         EASTERN DISTRICT OF CALIFORNIA
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8
     UNITED STATES OF AMERICA,
9                                             NO. CR. S-01 0383 WBS
                  Plaintiff,
10
          v.                                  ORDER
11
     ASTONIA R. WICKS,
12
                  Defendant.
13
                                   ----oo0oo----
14
                  On January 28, 2005, defendant filed a form Motion to
15
     Vacate, Set Aside or Correct Sentence under 28 U.S.C. § 2255.
16
     The United States filed its opposition to the motion on March 22,
17
     2005.     In her reply to the opposition, filed April 8, 2005,
18
     defendant correctly concludes that:
19
          It has been brought to my attention that my plea
20        agreement included a waiver for collateral attack on
          the conviction or sentence. Therefore I respectfully
21        request to withdraw my request for relief.
22   In accordance, with defendant’s request, it is hereby ordered
23   that the motion be, and the same hereby is, DENIED.
24   DATED: April 18, 2005
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